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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ANTHONY LETT,

               Plaintiff,

        v.                                                Civil Action No. 23-3942 (SLS)

 U.S. DEPARTMENT OF JUSTICE, et al.,

               Defendants.


                              SUBSTITUTION OF COUNSEL

       The Clerk of the Court will please enter the appearance of Assistant United States Attorney

Stephanie R. Johnson and remove the appearance of Assistant United States Attorneys L’Shauntee

J. Robertson and Diana Viggiano Valdivia as counsel for Defendants in the above-captioned case.

 Dated: June 5, 2025                           Respectfully submitted,

                                               By:           /s/ Stephanie R. Johnson
                                                     STEPHANIE R. JOHNSON,
                                                       D.C. Bar # 1632338
                                                     Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing to be served by United States mail,

postage prepaid, upon:

       Anthony Lett
       R54850-060 Coleman II
       U.S. Penitentiary Inmate Mail/Parcels P.O. Box 1034
       Coleman, FL 33521




                                                    /s/ Stephanie R. Johnson
                                                    STEPHANIE R. JOHNSON
                                                    Assistant United States Attorney


Dated: June 5, 2025




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